      8:13-cr-00108-JFB-TDT Doc # 275 Filed: 12/29/15 Page 1 of 1 - Page ID # 2868
                                UNITED STATES DISTRICT COURT
                                         DISTRICT OF NEBRASKA
Denise M. Lucks                          OFFICE OF THE CLERK                                          M. Therese Bollerup
Clerk of Court                                    www.ned.uscourts.gov                                Chief Deputy Clerk


   TO:            The Honorable Joseph F. Bataillon

   FROM:          Clerk, U.S. District Court
                  Jane Fischer

   DATE:           December 29, 2015

   SUBJECT:         8:13CR108 USA v. Kirk Cottom

   A party, who has been given permission to proceed in forma pauperis or who is financially unable
   to obtain an adequate defense in a criminal case, has filed a notice of appeal. Pursuant to FRAP
   24(a), a party may proceed on appeal in forma pauperis without further authorization unless the
   district judge certifies that the appeal is not taken in good faith or finds that the party is otherwise
   not entitled to proceed on appeal in forma pauperis. The district judge shall state in writing the
   reasons for such a certification or finding.

   Please advise the clerk's office of how you intend to proceed so that we may process this appeal:

                  No order will be entered in this direct criminal appeal, and the party is permitted to
                  proceed on appeal in forma pauperis.
                  An order will be entered finding that the party is not entitled to proceed in forma
                  pauperis.
                  An order will be entered, and the party is permitted to proceed on appeal in forma
                  pauperis.
                  An order will be entered in this § 2254 or § 2255 case regarding certificate of
                  appealability.


           Dated this          day of                                     20      .


                                                                  United States District Judge

                        Additional Requirement for State Habeas or § 2255 Cases

   Pursuant to Rule 22(b) of the Federal Rules of Appellate Procedure and 28 U.S.C. § 2253 (c), the
   district judge who rendered the judgment shall either issue a certificate of appealability or state
   the reasons why such a certificate should not be issued.

   Transmission of the notice of appeal to the Court of Appeals will be delayed until this court rules
   on the party's in forma pauperis status and the certificate of appealability.

                                                          Forms-Appeal-Memo_IFP_Prisoner_to_Judge_Criminal



                                111 South 18th Plaza, Suite 1152, Omaha, NE 68102-1322
                         Omaha: (402) 661-7350      Fax: (402) 661-7387   Toll Free: (866) 220-4381
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